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                           Exhibit A
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 1
 2                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
 4
      TERESA SWEET, et al.,
 5                                                     No. 19-cv-03674-WHA
                             Plaintiffs,
 6
               v.
 7
      UNITED STATES DEPARTMENT OF                      DECLARATION OF MARK A. BROWN
 8    EDUCATION and BETSY DEVOS, in her
      official capacity as Secretary of Education
 9
10                           Defendants.
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     Declaration of Mark A. Brown
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              I, Mark A. Brown, hereby declare under the penalty of perjury as follows:
 1
 2   1.       I am over the age of 18 and competent to testify to the matters herein.

 3   2.       I am the Chief Operating Officer of Federal Student Aid (“FSA”) in the U.S. Department
 4
     of Education. I was appointed to my position on March 4, 2019, by U.S. Secretary of Education
 5
     Betsy DeVos. I served in the U.S. Air Force (“USAF”) for 32 years and retired as a major
 6
 7   general. Most recently I served as the deputy commander for the Air Education and Training

 8   Command. Prior to that, I served in a series of roles in the USAF.
 9   3.       As Chief Operating Officer, I oversee the management of FSA. Through my duties as
10
     Chief Operating Officer and my discussions with Department staff working on borrower defense
11
     issues, I certify that I am duly authorized, am qualified, and have been given authority by the
12
13   Department to make the statements contained in this Declaration regarding the Department’s

14   processing of borrower defense applications submitted by members of the class certified by the
15   Court in this action and consisting of “[a]ll people who borrowed a Direct Loan or FFEL loan to
16
     pay for a program of higher education, who have asserted a borrower defense to repayment to the
17
     U.S. Department of Education, whose borrower defense has not been granted or denied on the
18
19   merits, and who is not a class member in Calvillo Manriquez v. DeVos, No. 3:17-cv-7210 (N.D.

20   Cal.).” Dkt. 46. The statements contained herein are based on my personal knowledge as an
21
     employee of the Department, my review of the pertinent records, and information provided to me
22
     in the performance of my official duties.
23
24   4.       On December 10, 2019, in the Press Release entitled Secretary DeVos Approves New

25   Methodology for Providing Student Loan Relief to Borrower Defense Applicants, the Department
26   announced a new methodology (“December 2019 Methodology”) for awarding relief to
27
28


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     successful borrower defense claimants. 1 On August 4, 2020, the Department published a notice
 1
 2   revising the December 2019 methodology for accuracy, clarity and technical corrections. Id.

 3   5.       The Department began applying the December 2019 Methodology soon after it was
 4
     announced.
 5
     6.       Even before the Department announced the December 2019 Methodology, FSA’s
 6
 7   Borrower Defense Unit (“BDU”), the unit responsible for reviewing and adjudicating borrower

 8   defense applications, began to hire additional attorneys, including term attorneys, to assist with
 9   clearing the backlog of borrower defense applications. The new term attorneys started to
10
     onboard in September 2019, with additional term attorneys onboarding on a rolling basis
11
     throughout the Fall of 2019. From September until the end of calendar year 2019, BDU
12
13   onboarded 30 new term attorneys. In early 2020, the BDU continued onboarding new term

14   attorneys. As of August 2020, BDU had onboarded a total of 52 new term attorneys to reduce
15   the backlog of pending borrower defense applications.
16
     7.       In addition, FSA hired an additional three employees to focus on the
17
     administrative/process end of distributing the decision letters.
18
19   8.       The increase of personnel within FSA generally, and within the BDU in particular, has

20   enabled FSA to substantially increase the volume of borrower defense decisions it has issued
21
     over the last approximately 9 months.
22
     9.       To this point, the Department has issued significantly more decisions finding borrower
23
24   defense applications ineligible than decisions finding applications eligible for borrower defense

25   relief since it resumed issuing final decisions in December 2019. This is the result of the
26
27   1
      https://www.ed.gov/news/press-releases/secretary-devos-approves-new-methodology-
28   providing-student-loan-relief-borrower-defense-applicants.


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     Department’s strategy to prioritize adjudicating and issuing decisions on applications with little
 1
 2   or no relevant evidence.

 3   10.      A claim may be found ineligible on the basis of “failure to state a legal claim” where the
 4
     borrower fails to allege that a school engaged in conduct giving rise to a borrower defense under
 5
     the Department’s regulations. For example, a claim that alleges that the borrower did not find a
 6
 7   job following graduation but does not allege that the school he or she attended made any

 8   misrepresentation to the borrower would be ineligible. The Department has found thousands of
 9   claims ineligible on this basis.
10
     11.      The Department also may find a claim ineligible when it is not supported by sufficient
11
     evidence to support the claim by a preponderance of the evidence. The Department’s
12
13   determinations of ineligibility on this basis are premised on its review of the evidence that the

14   individual borrowers submitted, if any, as well as relevant evidence in the Department’s
15   possession. Such evidence may include Department records received in the course of oversight
16
     activities outside of borrower defense processes; records produced by schools; and evidence
17
     from federal agencies and state attorneys general, from other borrowers, and from legal aid
18
19   organizations.

20   12.      The Department has made a determination that certain individual borrowers from the
21
     schools/school groups included in Attachment 1 to this Declaration are not eligible for relief. 2
22
     The attachment includes the following schools: Ashford University, Career Education Corp.,
23
24   Charlotte School of Law, Concorde Career Colleges, DeVry, ECA College, Education

25   Management Corp., ITT Tech, JTC Education Inc., Kaplan Inc., Lincoln Technical Institute Inc.,
26
     2
27    The attached list includes all schools/school groups where at least 10 individual borrowers have
     been determined not to be eligible for relief as of July 29, 2020. The Department’s general
28   practice is not to release the names of schools/school groups with fewer than 10 individual
     borrowers to protect the identity of the individual borrowers.

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     McCann School of Business and Technology, Miami - Jacobs Career College, Star Career
 1
 2   Academy, University of Phoenix, Walden University, and Westwood College.

 3   13.      The attached list includes some schools/school groups for which the BDU has in its
 4
     possession evidence of misconduct (referred to as “common evidence”), including, as noted
 5
     above, evidence and findings from federal agencies and state attorneys general. The list also
 6
 7   includes schools (such as Corinthian and ITT) attended by borrowers whose applications the

 8   Department has granted.
 9   14.      For a variety of reasons, not every borrower who attended one of those schools will be
10
     eligible for relief. The Department’s evaluation of, and decision on, any given borrower defense
11
     application is an individual process that depends on the information submitted by the borrower.
12
13   Applications relating to schools with common evidence may be facially deficient applications

14   that do not make any allegations of actionable misconduct.
15   15.      Additionally, the common evidence may not be relevant to an individual borrower’s
16
     application because a borrower’s allegations about her experiences may relate to different time-
17
     periods, campuses, or programs. In such a case, the Department will find the application
18
19   ineligible if the borrower’s application does not include sufficient evidence to corroborate the

20   claim.
21
     16.      Concurrently, the BDU has also continued its review of common evidence related to
22
     several additional schools other than those for which it has so far approved claims (e.g.,
23
24   Corinthian and ITT). It has completed a sufficient preliminary review of the common evidence

25   to determine its scope, including the time-periods and particular acts of misconduct it covers.
26   17.      As the BDU completes its analysis of common evidence for additional schools, the
27
     Department anticipates that there may be an increased number of approvals over time with
28


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     respect to the more than 75,000 applications that are covered by the Settlement Agreement and
 1
 2   that have not yet been adjudicated.

 3   18.      Since December 2019, borrower defense applicants (whether or not members of the
 4
     Sweet class) whose applications are found ineligible receive one of four form ineligibility letters
 5
     (examples of which were provided to the Court in the Defendants’ Response to August 31, 2020
 6
 7   Order (Dkt. 116 at Exhibits A-D)). The letters provide standardized justifications explaining the

 8   Department’s basis for finding claims ineligible based on the deficiencies described above.
 9   19.      The Department’s use of form letters for approximately four months prior to the
10
     execution of the Settlement Agreement provided the Department with the experience and data to
11
     inform its decision that continuing to use such form letters of ineligibility would enable the
12
13   Department to agree to and to meet the timelines in the Settlement Agreement.

14   20.      After a BDU attorney reaches a decision, the decision and its basis and other related data
15   are communicated to the FSA contractor. The contractor then populates the decision letter
16
     accordingly and sends the decision letter to the applicant. The contractor is not adjudicating the
17
     borrower defense application; the BDU attorney is. The process works the same for both
18
19   ineligible and eligible letters.

20   21.      Each form ineligibility letter explains the process for requesting reconsideration,
21
     including the submission of evidence on which the request for reconsideration is based.
22
     Although the regulations (34 C.F.R. § 685.222(e)(5)(i) (2016)) state that the Secretary may
23
24   reconsider the borrower defense upon the “identification of new evidence” in support of the

25   borrower’s claim, the ineligible letters provide borrowers with an even broader basis on which to
26   seek reconsideration. FSA will consider any evidence on reconsideration, which includes both
27
     new evidence and evidence already submitted. The only limit to the reconsideration requests, as
28


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     stated in the ineligible letters, is that a borrower cannot base a reconsideration request on a new
 1
 2   allegation.

 3   22.      The combination of the increased resources for FSA generally and BDU in particular has
 4
     resulted in a substantial increase in the volume of decisions FSA has been able to issue since
 5
     January 2020. The consideration given to evidence submitted by borrowers has not diminished
 6
 7   since either December 2019 when the Department first began issuing decisions utilizing the

 8   December 2019 Methodology or since April 7, 2020 when the Settlement Agreement was
 9   executed.
10
     23.       In their Motion to Enforce the Settlement Agreement and for Final Approval for the
11
     Settlement Agreement (“Motion”) (Dkt. 129), the Plaintiffs reference the borrower defense
12
13   application of Yvette Colon, who received an Ineligible Notice on July 2, 2020. Plaintiffs note

14   that Ms. Colon’s application was 175 pages long and was submitted by her attorneys. FSA has
15   re-reviewed Ms. Colon’s application and has determined that the email Ms. Colon received, that
16
     is discussed in Plaintiffs’ Motion was in error. Ms. Colon received a discharge of 100% of her
17
     loans in 2019, and her borrower defense application should have been closed. Instead, as a result
18
19   of a processing error, she received an erroneous ineligible email. She will receive a corrected

20   email advising that her application is closed because there are no loans associated with her
21
     application.
22
     24.      The Department also will reach out to Sean Doe, who was incorrectly advised that he
23
24   should file a FOIA request to obtain his records. This was a mistake by a customer service

25   representative. The Customer Service Representative instructions have been updated to prevent
26   similar mistakes in the future. As a general matter, FSA retains records relevant to borrower
27
28


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     defense applications, and will make those records available to applicants, consistent with
 1
 2   applicable regulatory requirements, see 34 C.F.R. § 685.222(e)(3)(ii).

 3
 4
     I declare under penalty of perjury, pursuant to the provisions of 28 U.S.C. § 1746, that the
 5   foregoing is true and correct.
 6
 7   Executed on this 1st day of October 2020.
 8
 9                                                                               _
                                           Mark A. Brown
10                                         Chief Operating Officer of Federal Student Aid
                                           Office of Federal Student Aid
11
                                           United States Department of Education
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                     ATTACHMENT 1
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Schools/School Groups where at least 10 individual borrowers have an Ineligible Step 1 Determination
Academy Of Art University
Academy of Healing Arts
Academy Pacific Travel College
Advanced Career Training
Advanced College
Alabama Agricultural & Mechanical University
Alabama State University
Albany State University
Alcorn State University
Allied American University
Alta Colleges, Inc.
American Business Institute
American Business Institute (Closed)
American College
American College of Medical Technology
American Commercial College
American Institute
American Institute of Trucking
American Musical & Dramatic Academy
American Public Education, Inc.
American School of Technology
American University (The)
Anamarc College
Angley College
Anthem College
Anthem Institute
Apollo Group, Inc (University Of Phoenix)
Arizona Automotive Institute
Arizona College
Arizona State University
Arkansas Baptist College
Arkansas State University
Asher College
Associated Technical College
Auburn University Montgomery
Austin Community College
Austin Peay State University
Austin's School of Spa Technology
Avalon School of Cosmetology
Azusa Pacific University
Baker College
Barber - Scotia College
Barclay Career School
Barclay College
Bay State College
Beauty Institute (The)
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Belhaven University
Benedict College
Bethel University
Bethune Cookman University
Blake Business School
Bloomsburg University of Pennsylvania
Blue Cliff College
Boston University
Bowling Green State University
Bradford Schools, Inc.
Brandman University
Brensten Education
Brick Computer Science Institute
Bridgepoint Education, Inc.
Brookline College
Brooks College
Brookstone College of Business
Broward College
Bryant & Stratton College, Inc.
Bryant and Stratton College
Business Industrial Resources
Butler Business School
California College of Vocational Careers
California Institute
California State University - Sacramento
California State University, East Bay
California State University, Fresno
California State University, Long Beach
California State University, Los Angeles
California State University, Northridge
California State University, San Bernardino
Caltius Equity Partners III, LP
Cambria-Rowe Business College
Camelot College
Capitol City Trade & Technical School
Career College of Northern Nevada
Career Education Corp.
Career Institute of Health and Technology
Career Quest Learning Centers
Career Technical College
Career Technical Institute
Casa Loma College
Catherine College
CEC
Center for the Media Arts
Central Connecticut State University
Central Florida Institute
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Central Michigan University
Central Nursing College
Central State University
Chancellor University
Chapman University
Charter College
Cheyney University of Pennsylvania
Chicago Institute of Technology
Chicago State University
Cincinnati State Technical & Community College
CIT College of InfoMedical Technology
Clark Atlanta University
Clark State Community College
Cleveland Chiropractic College
Cleveland Institute of Dental - Medical Assistants
Cleveland State University
College of Business & Technology
College of Health Care Professions (The)
College of New Rochelle (The)
College of Saint Mary
College of Southern Nevada
College of Westchester (The)
Columbia College
Columbia College Chicago
Columbia Southern Education Group, Inc.
Columbus State Community College
Community Care College
Community College of Philadelphia
Concordia College Alabama
Concordia University
Corinthian Colleges, Inc.
Cosmetology Career Institute
Coyne College
Dade Medical College
Daniel Webster College
Davenport University
David Pyle Trust
Dawn Career Institute
Daytona State College
Decker College
Delaware State University
Delgado Community College
Delta Career Education Corporation
Delta Cec
Delta School of Business and Technology
Denver Technical College
DePaul University
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Des Moines Area Community College
Devry
Dover Business College
Dowling College (Private)
Drake Business School
Dream Center Education Holdings (DCEH)
Drexel University
DuBois Business College
Duquesne University of the Holy Spirit
Eagle Gate College
East Carolina University
Eastern International College
Eastern Michigan University
EDMC
Education Futures Management Co.
Educational Management Corporation (Not Education Management Corp.)
Elmira Business Institute
Empire Beauty School
Empire College
Employment Services, Inc.
Everest
Excelsior College
Fairleigh Dickinson University
Fashion Institute Of Design & Merchandising
Fayette Beauty Academy
Florida Agricultural & Mechanical University
Florida Atlantic University
Florida Career College
Florida Institute of Technology
Florida International University
Florida Memorial University
Florida National University
Florida SouthWestern State College
Florida State University
Forest Institute of Professional Psychology
Fountainhead College of Technology
Four-D College
Franklin University
Fremont College
Full Sail Recorders, Inc.
Galen College of California
George Mason University
George Washington University
Georgia Beauty Academy
Georgia Perimeter College
Georgia School of Bartending
Georgia Southern University
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Georgia State University
Glendale Career College
Goodwin University
Graham Holdings Company (Kaplan)
Grambling State University
Grantham Education Corporation
Greenville Technical College
Hair Fashions by Kaye Beauty College
Hallmark University
Hamilton College
Harrisburg Area Community College
Harrison College
Healthy Hair Academy
Henry Ford College
Heritage Institute
Herzing, Inc.
Hillsborough Community College
Hinds Community College
Hiwassee College
Hofstra University
Hollywood Beauty College
Hollywood Institute
Hollywood Institute of Beauty Careers
Houston Community College
Howard University
Huston - Tillotson University
IBMC College
Illinois State University
Indiana Institute of Technology
Indiana State University
Indiana University
Indiana University - Bloomington
Indiana Wesleyan University
Institute for Business & Technology
Institute for Health Education (The)
IntelliTec College
Inter American University of Puerto Rico - San German Campus
Interactive College of Technology
International Air & Hospitality Academy
International Business College
International Career Development Center
Isleworth Partners Inc.
ITT Educational Services, Inc.
Iverson Institute
Ivy Tech Community College of Indiana
Jackson State University
Jacksonville Beauty Institute
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Jefferson Community and Technical College
John Paul Mitchell Systems
Johnson & Wales University
Jones College
Jones International University
Jtc Education, Inc.
Kean University
Kelsey - Jenney College
Kennesaw State University
Kent State University
Kentucky State University
Keystone Technical Institute
Knoxville College
LA College International
Lake Lanier School of Massage
Lane Community College
Langston University
Lansing Community College
Laurus College
Laurus Technical Institute
Leeds Equity Partners IV, L.P.
LeMoyne - Owen College
Liberty University
Lincoln Technical Institute, Inc.
Lincoln University
Lindenwood University
Lon Morris College
Long Island University
LTT Enterprises, Inc
Madison Media Institute
Manhattan Beauty School
Mansfield Business College
Maric College
Marinello School Of Beauty
Marygrove College
Marylhurst University
Mattia College
MCI Institute of Technology
McLennan Community College
MDT College of Health Sciences
Medaille College
Mercer University
Mercy College
Metropolitan State University of Denver
Miami - Jacobs Career College
Miami Dade College
Miami Media School
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Michigan State University
Micropower Career Institute
Mid-Continent University
Middle Tennessee State University
Midlands Technical College
Midwest Technical Institute
Mildred Elley
Miles College
Milwaukee Area Technical College
Minneapolis Community and Technical College
Minnesota State Community and Technical College
Minnesota State University, Mankato
Mississippi Valley State University
Missouri State University
Missouri Technical School
Monroe College, Ltd.
Montclair State University
Morgan State University
Mount Ida College
Mountain State University
Mt. Sierra College
MTA School, Resident School
MTI Business College
MTI College
MTI College of Business and Technology
Musicians Institute
MyComputerCareer.com /TechSkills
Nashville Auto-Diesel College
Nassau Community College
National Academy of Beauty Arts
National College
National Education Center National Institute of Technology Campus
National Polytechnic College
National University System
Navarro College
New College of California
New England Institute of Technology
New England Tractor Trailer Training School of Connecticut
New Jersey City University
New Life Business Institute
New Mexico State University
New School, The
New York Institute of Technology
New York University
Newbury College
Norfolk State University
North Carolina Agricultural & Technical State University
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North Carolina Central University
Northeastern University
Northern Arizona University
Northern Illinois University
Northern Virginia Community College
Northwest Career College
North-West College
Northwestern College
Northwood University
Norwich University
Nova Southeastern University
Novateur Education, Inc.
Nyack College
Ohio Christian University
Ohio Media School
Ohio State University (The)
Ohio Technical College
Olympian Academy of Cosmetology
Omnitech Institute
Oral Roberts University
Orion College
Ottawa University
Owens Community College
Pace University
Pacific Coast College
Pacific Travel Trade School
Park West Barber School
Paul Mitchell the School Green Bay
Pennco Tech
Pennsylvania Institute of Technology
Pennsylvania School Of Business
Pennsylvania State University (The)
Phoenix College
Pinnacle College
Pioneer Education, LLC
Pioneer Pacific College
Pittsburgh Technical College
Portland Community College
Portland State University
Post University, Inc.
Prairie View Agricultural & Mechanical University
Premier Education Group L.P.
Prism Career Institute
Professional Careers Institute
Prospect College
Provo College
PTC Career Institute
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Purdue University
Purdue University Northwest
Quad Partners III-A LP
Quest College
Quincy College
Rasmussen College
Rasmussen College, Inc.
Real Barbers College (The)
Regency Corporation
Regent University
Regis Corp.
Regis Corporation
Regis University
Remington College
Ridley - Lowell Business & Technical Institute
Rio Salado Community College
Robert Morris University Illinois
Rochester Institute of Technology
Ross Education, LLC
Royal Beauty Careers
Rutgers, the State University of New Jersey
SAE Expression College
Saint Augustine's University
Saint John's University
Saint Joseph's College
Saint Leo University
Saint Louis College of Health Careers
Saint Paul's College
Salon Academy (The)
Salon Professional Academy (The)
Sam Houston State University
San Diego College
San Francisco State University
San Joaquin Valley College, Inc
San Jose State University
Santa Barbara Business College
Savannah College of Art and Design
Savannah River College
Sawyer College
School of Communication Arts of North Carolina
Seminole State College of Florida
Seton Hall University
Shaw University
Sojourner-Douglass College
South Carolina State University
South Coast College
South College
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Southeastern Academy
Southeastern College
Southeastern Louisiana University
Southeastern University
Southern Careers Institute
Southern College
Southern Illinois University at Carbondale
Southern Institute of Cosmetology
Southern New Hampshire University
Southern Technical College
Southern University and Agricultural & Mechanical Colg at Baton Rouge
Southern University at Shreveport - Bossier City
Southwest Acupuncture College
Southwest University of Visual Arts
Sp/Palm Iec Holdings LLC (United Education Institute)
Springfield College
St. Catharine College
St. Petersburg College
Star Career Academy
Star Technical Institute
Stark State College
State College of Florida, Manatee-Sarasota
Stautzenberger College
Steiner Leisure Ltd.
Sterling Partners
Stillman College
Stratford University
Strayer Education Inc.
Suburban Technical School
Summer Street Capital Ii, LP
Summit College
SUNY College at Buffalo
SUNY Empire State College
Tarrant County College District
Tcs Education System
Technical Career Institutes
Tennessee Academy of Cosmetology
Tennessee State University
Tennessee Temple University
Texas Barber College
Texas Southern University
Texas State Technical College
Texas State University
Texas Tech University
The Porter And Chester Inst., Inc.
Tidewater Community College
TONI&GUY Hairdressing Academy
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Touro College
Trainco Bus School
Tricoci University of Beauty Culture
Trident Technical College
Trident University International
Troy University
Trumbull Business College
Ultimate Medical Academy
Unitech Training Academy
United College of Business
United Schools
Universal Technical Institute
Universidad Ana G. MÃ©ndez - Gurabo Campus
University of Advancing Computer Technology
University of Akron (The)
University of Alabama
University of Alabama at Birmingham
University of Antelope Valley
University of Arizona (The)
University of Arkansas at Little Rock
University of Bridgeport
University of California, Los Angeles
University of Central Florida
University of Cincinnati
University of Detroit Mercy
University of Florida
University of Houston
University of Houston - Downtown
University of Illinois at Chicago
University of Louisville
University of Maryland Global Campus
University of Maryland, College Park
University of Memphis (The)
University of Miami
University of Minnesota - Twin Cities
University of Mississippi
University of Nevada - Las Vegas
University of Nevada , Reno
University of New Mexico
University of New Orleans (The)
University of North Texas
University of San Francisco
University of South Alabama
University of South Carolina - Columbia
University of South Florida
University of Southern California
University of Southern Mississippi
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University of Southernmost Florida
University of Tennessee
University of Texas at Arlington
University of Texas at Dallas
University of Texas at El Paso
University of Texas at San Antonio
University of the Cumberlands
University of the District of Columbia
University of Toledo
University of Washington - Seattle
University of Wisconsin - Milwaukee
USA Training Academy Home Study
Utica School of Commerce
Valdosta State University
Valencia College
Valparaiso University
Victory University
Virginia Intermont College
Virginia State University
Vocational Training Institute, Inc.
Wake Technical Community College
Wayne County Community College District
Wayne State University
Webster Career College
Webster University
Wengen Alberta, Limited Partnership (Laureate Education)
West Tennessee Business College
West Virginia University
Western Beauty Institute
Western Kentucky University
Western Michigan University
Western Technical College
Weston Educational, Inc.
Westwood
Whittier College
Wichita Technical Institute
Wilfred Academy of Hair & Beauty Culture
Willis Stein & Partners III, L.P.
Yorktowne Business Institute
Youngstown State University
